                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )       No. 3:06-CR-102
 V.                                                   )       (Phillips / Guyton)
                                                      )
                                                      )
 GRAY Y. JORDAN,                                      )
                                                      )
                        Defendant.                    )

                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This case is before the Court on Defendant Gray Y. Jordan’s Motion to

 Adopt and Incorporate Objections of Co-Defendant to the Memorandum and Order of the Magistrate

 Judge [Doc. 147], filed as [Doc. 184]. Defendant Gray Jordan seeks to adopt objections, currently

 before the District Court, as follows:


                1. Doc. 149: Defendant Newman’s Notice of Appeal And Objections To The
                Magistrate-Judge's Memorandum and Order [Doc. 147, page 5-6] Denying
                Newman's Motion To Compel Fed. R. Crim. P. 16(a)(1) Inspection [Doc. 31].

                2. Doc. 150: Defendant Newman’s Notice of Appeal And Objections To The
                Magistrate-Judge's Memorandum and Order Entered June 25, 2007 [Doc. 147,
                page 5-6] Denying Newman's Motion For Fed. R. Crim. P. 17(c) Subpoenas [Doc.
                34].

                3. Doc. 152: Defendant Newman’s Notice of Appeal And Objections To The
                Magistrate-Judge's Memorandum and Order [Doc. 147, page 5-6] Denying
                Newman's Motion For A Government Witness List [Doc. 35].

                4. Doc. 153: Defendant Newman’s Notice of Appeal And Objections To The
                Magistrate-Judge's Memorandum and Order [Doc. 147, page 13] Denying
                Newman's Motion For A Pretrial Conference With The Court [Doc. 67].



Case 3:06-cr-00102-TWP-HBG            Document 191        Filed 07/27/07     Page 1 of 4      PageID
                                            #: 111
            5. Doc. 154: Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 13] Denying
            Newman's Motion To Order Cooperation Agencies Present Their Files to The
            Prosecutor For Review [Doc. 69].

            6. Doc. 156: Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 19] Denying
            Newman's Motion To Compel Discovery Pertaining To Evidence Produced under
            404(b); 608; 609; 702; 703; 801; 803; 804 and 807 [Doc. 71].

            7. Doc. 155: Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 15-18] Denying
            Newman's Motion To Adopt "Lloyd" Standard Of Material To the Preparation Of
            A Defense [Doc. 70].

            8. Doc. 163: Defendant Newman’s Notice of Appeal And Objections To the
            Magistrate-Judge’s Memorandum and Order [Doc. 147, pages 21-23] Denying
            Newman's Motion For Discovery and Disclosures For Sentencing Determinations
            [Doc. 72].

            9. Doc. 159: Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 23-24] Denying
            Defendant Newman’s Motion To Compel Specific Rule 16(a)(1)(E) or Brady-
            Kyles Favorable Evidence [Doc. 76].

            10. Docs. 160 and 165: Defendant Newman’s Notice of Appeal And Objections
            To The Magistrate-Judge's Memorandum and Order [Doc. 147, page 26-28]
            Denying Defendant Newman’s Motion To Compel Specific Rule 16(a)(1)(E) or
            Brady - Kyles Favorable Evidence And To Be Provided That Evidence 45 days
            Prior To Trial [Doc. 77, 81].

            11. Doc. 174: Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 46] Denying
            Defendant Newman's Motion For Production of Related Indictments and
            Warrants
            [Doc. 80].

            12. Doc. 175-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 52-54] Denying
            Defendant Newman's Motion For Roviaro Informant Disclosures [Doc. 82].

            13. Doc. 162-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147] Denying Defendant

                                          2


Case 3:06-cr-00102-TWP-HBG     Document 191      Filed 07/27/07    Page 2 of 4    PageID
                                     #: 112
            Newman's Motion For Pretrial Notice of Rule 608 and 609 Impeaching Evidence
            And Renewal Before The District Court For This Notice [Doc. 85].

            14. Doc. 177-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 48] Denying
            Defendant Newman's Motion For Production By The Prosecutor of Pre-Sentence
            Reports Of Cooperating Witnesses [Doc. 88].

            15. Doc. 170-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 43] Denying
            Defendant Newman's Motion For A Hearing As To Whether A Second Agent Is
            Permitted To Be In the Courtroom [Doc. 93].

            16. Doc. 167--Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 37-38] Denying
            Defendant Newman's Motion Notice of Tape Recordings And Transcripts To Be
            Used At Trial [Doc. 94].

            17. Doc. 179-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 64] Denying
            Defendant Newman's Motion to Suppress And Exclude Testimony Of Witnesses
            Provided Undisclosed And Unauthorized Benefits [Doc. 107].

            18. Doc. 178-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 55] Denying
            Defendant Newman's Motion For Notice of Crawford Hearsay [Doc. 90].

            19. Doc. 170-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 43] Denying
            Defendant Newman's Motion For A Hearing As To Whether A Second Agent Is
            Permitted To Be In the Courtroom [Doc. 93].

            20. Doc. 167-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 37-38] Denying
            Defendant Newman's Motion Notice of Tape Recordings And Transcripts To Be
            Used At Trial [Doc. 94].

            21. Doc. 179-- Defendant Newman’s Notice of Appeal And Objections To The
            Magistrate-Judge's Memorandum and Order [Doc. 147, page 64] Denying
            Defendant Newman's Motion to Suppress And Exclude Testimony Of Witnesses
            Provided Undisclosed And Unauthorized Benefits [Doc. 107].




                                          3


Case 3:06-cr-00102-TWP-HBG     Document 191      Filed 07/27/07    Page 3 of 4    PageID
                                     #: 113
        Defendant Gray Jordan contends that the 21 objections specifically referenced above contain

 issues of fact and law germane to his own case, and furthermore maintains that the granting of this

 motion will promote judicial economy and prevent the unnecessary duplication of filings. The

 government has already responded to the filings in question, relying upon the United States’ original

 responses to the original underlying pretrial motions, [Doc. 186].

        The Court has reviewed these motions, and Defendant Gray Jordan’s request [Doc. 184] to

 adopt these motions is GRANTED, to the extent that it does not require the government to respond

 with further specificity as to Defendant Gray Jordan.

        IT IS SO ORDERED.

                                                       ENTER:


                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




                                                  4


Case 3:06-cr-00102-TWP-HBG            Document 191        Filed 07/27/07      Page 4 of 4      PageID
                                            #: 114
